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                               UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


  MCM Group 22 LLC,

                  Plaintiff,
                                                              NOTICE OF VOLUNTARY
  v.
                                                              DISMISSAL PURSUANT TO
                                                              F.R.C.P. 41(a)(1)(A)(i)
  Lyndon Perry, and
  Criston A. Violette.                                        Case No. 22-cv-06157

                  Defendants.


       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

         Pursuant to Rule 41(a)(1)(A)(i) of the Fed. R. Civ. P., and based upon the declaration of
Criston A. Violette and the affidavit of Lyndon Perry, filed contemporaneously herewith,
Plaintiff MCM Group 22 LLC and their counsel hereby give notice that the above captioned
action is voluntarily dismissed ONLY against and as to the defendant: Criston A. Violette.



 DATED: August 31, 2022                         Respectfully submitted,


                                                /s/ Erik Dykema
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